Case: 5:03-cv-00494-KSF-JBT Doc #: 270-46 Filed: 09/15/06 Page: 1 of 5 - Page ID#:
                                     6820




                                                              EXHIBIT RR
Case: 5:03-cv-00494-KSF-JBT Doc #: 270-46 Filed: 09/15/06 Page: 2 of 5 - Page ID#:
                                     6821




                                                              EXHIBIT RR
Case: 5:03-cv-00494-KSF-JBT Doc #: 270-46 Filed: 09/15/06 Page: 3 of 5 - Page ID#:
                                     6822




                                                              EXHIBIT RR
Case: 5:03-cv-00494-KSF-JBT Doc #: 270-46 Filed: 09/15/06 Page: 4 of 5 - Page ID#:
                                     6823




                                                              EXHIBIT RR
Case: 5:03-cv-00494-KSF-JBT Doc #: 270-46 Filed: 09/15/06 Page: 5 of 5 - Page ID#:
                                     6824




                                                              EXHIBIT RR
